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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
     v.                                         :       CASE NO. 1:23-CR-36 (RBW)
WILLIAM ROBERT DUNFEE                           :
                                                :
         Defendant.                             :



  UNITED STATES’S PROPOSED FINDINGS AND FACT AND CONCLUSIONS OF
                               LAW
       On January 22, 2024, WILLIAM ROBERT DUNFEE was found guilty after a bench trial

on Counts One (18 U.S.C. §231(a)(3)), Two (18 U.S.C. § 1512(c)(2)), and Three (18. U.S.C. §

1752(a)(1)) of the Indictment. (ECF 66.) The Court ordered that on or before April 1, 2024, the

parties submit any proposed findings of fact and conclusions of law. (Id.) In accordance with that

order, the government provides the following proposed findings of fact and conclusions of law.

                       The Events at the U.S. Capitol on January 6, 2021

       1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

Exhibit 1001.

       2.       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public, as shown in Exhibits 003, 006, 009, 405, 406, 407, 408, 409, 410, 1001. A restricted

perimeter was established, as depicted in Exhibit 006, and defined using metal bike rack fencing,

snow fencing, and “Area Closed” signs. On the East Front, where DUNFEE was located, the




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restricted perimeter was generally marked with waste-high metal bike rack fencing. Exhibits 300,

301, 405, 406, 408, 409, 410, and 1001.

        3.      On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,

Congress met to certify the vote count of the Electoral College of the 2020 Presidential Election,

which had taken place on November 3, 2020. Consistent with Article II of the U.S. Constitution,

the Twelfth Amendment to the U.S. Constitution, and the Electoral Count Act (as in place in 2020),

the certification of the 2020 presidential election involved the tabulation of “all the certificates and

papers purporting to be certificates of the electoral votes, which certificates and papers shall be

opened, presented, and acted upon in alphabetical order of the States.” 3 U.S.C. § 15. Exhibit

1001.

        4.      The joint session began at 12:59 p.m. Shortly thereafter, at approximately 1:15

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection, as

provided for in the Electoral Count Act. Vice President Mike Pence was present and presiding,

first in the joint session, and then in the Senate chamber. A video montage of the joint session is

shown in Exhibit 008. Exhibit 1001.

        5.      The proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate. By that time, a large crowd had gathered

outside the U.S. Capitol. As noted above, temporary and permanent barricades were in place

around the exterior of the U.S. Capitol building, and U.S. Capitol Police were present and

attempting to keep the crowd away from the Capitol building and the proceedings underway inside.

Exhibit 1001.




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        6.     Shortly before 1:00 p.m., certain individuals in the crowd breached the restricted

perimeter on the west side of the Capitol, advancing to the Capitol’s West Plaza. Shortly before

2:00 p.m., certain individuals forced their way through, up, and over additional barricades and

officers of the U.S. Capitol Police, and advanced to the exterior façade of the building. Exhibit

1001.

        7.     At approximately 2:00 p.m., on the east side of the Capitol, certain individuals in

the crowd, including DUNFEE, forced their way through the barricades, and officers of the U.S.

Capitol Police, and the crowd advanced to the exterior façade of the building. The crowd was not

lawfully authorized to enter or remain in the restricted grounds or building and, prior to entering

the restricted grounds or building, no members of the crowd submitted to security screenings or

weapons checks by U.S. Capitol Police or other authorized security officials. Montages of breaches

of the restricted perimeter and of the Capitol building and grounds are shown in Exhibits 003 and

009. Exhibit 1001.

        8.     The actions of these unauthorized individuals constituted a public disturbance

involving acts of violence by assemblages of three or more persons, which caused immediate

danger of and resulted in damage or injury to persons and property. Exhibit 1001.

        9.     At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd on the West Front of the Capitol building forced

entry into the U.S. Capitol, including by breaking windows and by assaulting members of law

enforcement, as others in the crowd encouraged and assisted those acts. At the same time,

individuals who had breached the barricades on the East Front of the Capitol Building were also




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attempting to gain entry into the building, with some members of the crowd assaulting officers and

breaking windows in the process. At approximately 2:25 p.m., individuals in the crowd on the East

Front of the Capitol did force entry into the building, including by assaulting members of law

enforcement, as others in the crowd encouraged and assisted those acts. Exhibit 1001.

       10.     The civil disorder on January 6, 2021 resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $2.8 million dollars for repairs. Exhibit 1001.

       11.     Shortly thereafter, at 2:13 p.m., the Senate recessed. The House initially recessed

at 2:18 p.m. and then, after reconvening, recessed at 2:29 p.m. Members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. As shown in Exhibit 603, at

approximately 2:25 p.m., Vice President Pence was evacuated to a secure location within the

Capitol building. Based on the breach of the restricted perimeter, including breaches on the East

Front, the U.S. Secret Service implemented an action plan to protect Vice President Pence, which

included moving the Vice President’s motorcade from the East Plaza and escorting the Vice

President to a secure location, as shown in Exhibits 104, 104a, 106, 106a, 110, 602, 603, 1001;

Jan. 22, 2024 Tr. 18:23-19:15 (Hawa). The Vice President and his motorcade were moved in part

because Inspector Hawa of the Secret Service saw individuals rioting on the East Plaza. Jan. 22,

2024 Tr. 17:22-19:15 (Hawa).

       12.     Accordingly, all proceedings of the United States Congress, including the joint

session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

posed by individuals who had entered the U.S. Capitol without any security screening or weapons

check, Congressional proceedings could not resume until after every unauthorized occupant had




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left the U.S. Capitol, and the area within the restricted perimeter had been confirmed secured. The

proceedings resumed in the Senate at 8:06 p.m., with the House following at 9:02 p.m. after the

building had been secured. Exhibit 008. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Exhibit 1001.

        13.     At approximately 2:31 p.m. on January 6, 2021, in response to the events at the

U.S. Capitol, District of Columbia Mayor Muriel Bowser issued an order imposing a curfew in the

District of Columbia from 6:00 p.m. on January 6, 2021 until 6:00 a.m. on January 7, 2021. Exhibit

1001.

        14.     In reaction to Mayor Bowser’s curfew order, Safeway closed all 12 of its stores in

the District of Columbia as of 4:00 p.m. on January 6, 2021. Safeway’s stores were supposed to

close at 11:00 p.m. Safeway later determined that its District of Columbia stores made between

18% and 47% less in sales to the public on January 6, 2021, than they had been projected to make

on that day. Exhibit 1001.

        15.     Safeway’s District of Columbia stores receive their shipments from a warehouse in

Pennsylvania. After 4:00 p.m. on January 6, 2021, the scheduled shipments for the remainder of

the day could not be delivered because the stores were closed and no employees were working.

Exhibit 1001.

        16.     The impact on Safeway stores provides one example of how the civil disorder on

the grounds of the U.S. Capitol on January 6, 2021 obstructed, delayed, or adversely affected

commerce or the movement of any article or commodity in commerce as those terms are used in

18 U.S.C. § 231(a)(3). Exhibit 1001.




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       17.      The civil disorder also adversely affected several functions, operations, or actions

carried out, under the laws of the United States, by any department, agency, or instrumentality of

the United States or by an officer or employee thereof, including the U.S. Capitol Police’s

protection of the U.S. Capitol and the Capitol grounds, as well as the United States Secret Service’s

protection of the Vice President of the United States and immediate family members of the Vice

President. Exhibit 1001.

                    Dunfee’s Participation in the Events of January 6, 2021

       18.      The defendant, DUNFEE, is the pastor of a church located in Warsaw, Ohio. On or

about December 27, 2020, DUNFEE told his congregation: “They used to tell us, you know what,

you settle your differences at the ballot. How did that work out for us? It’s not over . . . We are

heading to D.C. Who’s going with us? January 4th through 6th . . . Are you ready?”, as shown in

Exhibit 209. Exhibit 1001.

       19.      DUNFEE knew that Congress was meeting on January 6, 2021 to certify the

Electoral College vote. DUNFEE knew about the counting of the ballots for president and planned

to be present in Washington, D.C. for the certification. Exhibit 1001.

       20.      On or about January 6, 2021, DUNFEE traveled to Washington D.C. from Ohio.

At approximately 9:00 a.m., DUNFEE arrived on the East Front of the Capitol Grounds. DUNFEE

knew the certification was taking place that day at the Capitol and that Vice President Mike Pence

would preside over the certification proceedings, as shown in Exhibits 202, 202a, 202b, and 210.

Exhibit 1001.

       21.      At approximately 9:25 a.m., DUNFEE, who was wearing tan boots, blue jeans, a

grey checkered shirt, a black jacket, and a black baseball hat, stood on a raised flowerbed on the

East Front and used a megaphone to address the crowd, as shown in Exhibits 200, 201, 202, 202a,



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202b, 203, 214, 215, 301, 301a, 302, 402, 403, 404, 408, 419, and 420. Dunfee told the crowd:

“This election has been stolen right out from underneath of our noses and it is time for the

American people to rise up. Rise up! Rise up! Today is the day in which it is that these elected

officials realize that we are no longer playing games.”, as shown in Exhibits 202 and 202a. In this

comment, DUNFEE was referring to the presidential election, which he believed had been “stolen”

from President Trump. DUNFEE told the crowd that he wanted President Trump to serve a second

term and he did not want Congress to certify the ballots from certain “battleground states” and

“expect[ed] to see how it is that [the election results] are investigated”, as shown in Exhibits 202

and 202a. He did not want the election to be certified on January 6, 2021 in President Biden’s

favor without the examination of what he believed to be irregularities. Exhibit 1001.

       22.     DUNFEE used a megaphone to tell the crowd, “We will stand up for our country.

We are standing up for our freedoms. We are standing up for our president. And today is the day

these elected officials, these senators and these congressmen, understand that we are not going to

allow this to continue any longer!”, as shown in Exhibit 202 and 202a. Exhibit 1001.

       23.     DUNFEE used a megaphone to tell the crowd, “I am not talking about any of the

nonsense of burning buildings and destroying another man’s property, but they need to fear us,”

referring to elected officials, as shown in Exhibits 202 and 202a. Exhibit 1001.

       24.     At approximately 11:47 a.m., DUNFEE left his position on the raised flower bed,

and he walked over to a group of individuals gathered further away from the Capitol. DUNFEE

returned to the raised flower bed a few minutes later. Exhibits 103, 103b; Jan. 22, 2024 Tr. 29:13-

30:17 (McCabe).

       25.     At approximately 11:55 a.m., DUNFEE used a megaphone to tell the crowd:

“What’s the purpose of these gates right here?” referring to the barricades on the restricted




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perimeter line on the East Front that was constructed of waist-high metal fencing, as shown in

Exhibits 213, 301 and 301a. DUNFEE continued: “What’s the purpose of these gates? It’s to keep

you away from our house.” Exhibits 301 and 301a. An unidentified rioter then yelled, “Let’s go

in.” DUNFEE responded into the megaphone, “We’re going to. We’re going to. We intend to

take it,” as shown in Exhibit 301 and 301a. Exhibit 1001.

       26.     From between approximately 12:00 p.m. to 1:10 p.m., President Trump’s speech at

the Ellipse was broadcast through means of sound amplification to the crowd gathered on the East

Front, including DUNFEE. Exhibits 203 and 1001.

       27.     At approximately 12:43 p.m., DUNFEE was asked what organization he was with.

He responded, “Grassroots and Christian Patriots . . . here to stop the steal and do what we can do.”

Exhibits 200, 200a, and 1001.

       28.     At approximately 12:50 p.m., Vice President Pence’s motorcade arrived on the East

Plaza and parked in front of the Capitol building. Exhibits 302 and 1001.

       29.     At approximately 1:15 p.m., DUNFEE used a megaphone to tell the crowd: “They

just objected to Arizona,” as shown in Exhibits 203 and 203a, referring to Congress’s certification

of the Electoral College ballots submitted by Arizona. Exhibit 1001.

       30.     At approximately 1:20 p.m., DUNFEE used a megaphone to tell the crowd:

“Remember this. If they let us down, we are going to our house! . . . Protect the Constitution! . . .

We are going to our house!”, as shown in Exhibits 203 and 203c. Exhibit 1001.

       31.     At approximately 1:30 p.m., DUNFEE used a megaphone to tell the crowd:

“Donald Trump is leading the crowd . . . Fight for Trump! Hold the line!” In response, the crowd

began a “Fight for Trump!” chant, as shown in Exhibits 203 and 203e. Exhibit 1001.




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       32.     At approximately 1:35 p.m., DUNFEE used a megaphone to address U.S. Capitol

Police officers: “Mister police officers, we want you to understand something. We want you to

understand something. We want Donald Trump and if Donald Trump is not coming, we are taking

our house! We are taking our house! . . . Give us Trump or give us our house!”, as shown in

Exhibits 203 and 203f. Exhibit 1001.

       33.     At approximately 1:26 p.m., DUNFEE used his megaphone to tell the crowd,

“Reinforcements around back. If you are able to move around back, they need some support around

back.” Exhibit 203 and 203d. DUNFEE was referring to the West Front of the Capitol, where

rioters were fighting police officers for control of the barricade line. Exhibits 003 and 1001.

       34.     At approximately 1:40 p.m., DUNFEE approached the barricade line on the East

Front, which was maintained by U.S. Capitol Police officers. Exhibit 1001.

       35.     U.S. Capitol Police officers and other federal law enforcement officers present at

the U.S. Capitol were engaged in performance of their official duties. Exhibit 1001.

       36.     DUNFEE, together with others, at approximately 1:45 p.m., pushed against a metal

barricade against U.S. Capitol Police officers in an attempt to break through that group of officers

and advance toward the U.S. Capitol building in order to impede the certification of the electoral

college vote, as shown in Exhibits 100, 100a, 203, 203h, 204, 204a, 216, 219, 228, 300, 411, 412,

and 413.

       37.     Other rioters, including an individual identified as Doug Wright, pushed the metal

barricades with DUNFEE. Exhibits 411, 412, and 415; Jan 22, 2024 Tr. 43:21-44:12; 45:1-3;

45:21-25 (McCabe).

       38.     As result of DUNFEE and the other rioters’ pushing against the metal barricade,

the barricade line was temporarily breached. DUNFEE and a few others entered the open space




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between the barricade line and the Capitol steps, as shown in Exhibits 100, 100a, 104, 104a, 105,

105a, 110, 203, 204, 216, 219, 228, 300, 412, and 413. Exhibit 1001.

       39.     DUNFEE and others who had broken through were marshalled by U.S. Capitol

Police officers to return behind the barricade line, and DUNFEE did return back to the barricade

line. Federal law enforcement officers temporarily resecured the barricade line, as shown in

Exhibits 101, 109, 203, 204, 212, and 219. Exhibit 1001.

       40.     At approximately 1:50 p.m., DUNFEE remained at the front of the barricade line,

as shown in Exhibits 101, 102, 102a, 109, 203, 204, 217, 302, 303, 305, and 307. Exhibit 1001.

       41.     DUNFEE, together with others, at approximately 2:00 p.m., pushed against a metal

barricade against U.S. Capitol Police officers in a second attempt to break through that group of

officers and advance toward the U.S. Capitol building, as shown in Exhibits 101, 102, 102a, 109,

104, 104a, 106, 106a, 110, 203, 204, 205, 208, 211, 303, 304, and 602. Prior to pushing the

barricade against police officers, DUNFEE was instructed by a police officer that it was the job of

U.S. Capitol Police to keep the crowd from entering the restricted grounds and that DUNFEE and

others were not allowed to pass the barricades. DUNFEE responded to the officer, “Alright, we

are going to the steps. . . We are going to the steps. . . You can fight us. You can fight us” and he

began to push against the barricades and police officers. Exhibits 303 and 303d. Exhibit 1001.

       42.     DUNFEE, together with others, breached the barricade line – despite his knowledge

that it was illegal to do so. On this occasion, U.S. Capitol Police officers were not able to hold

rioters back or resecure the barricade line. Exhibits 102 and 102a.

       43.     DUNFEE was one of the first rioters to enter the restricted grounds on the East

Plaza, where a police officer in riot gear immediately attempted to physically halt his advance.

Exhibits 102 and 102a. DUNFEE sidestepped the officer, who again tried to physically corral




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DUNFEE. DUNFEE evaded the officer in riot gear again. Exhibits 102, 102a, and 304. DUNFEE

then advanced towards the U.S. Capitol Building, as shown in Exhibits 102, 102a, 109, 208, 211,

217, 219, 225, 226, 303, and 304. Exhibit 1001.

       44.     DUNFEE marched up the East Central Stairs, where law enforcement had

established a police line halfway up the stairs behind a barrier chain. Exhibits 106 and 106a.

Signposts along the barrier chain read, “No Public Access.” Exhibit 308. Those who entered the

restricted grounds continued to push forward into the police line. DUNFEE was, at times, at the

front of the police line established on the stairs. Exhibits 106 and 106a. Because of the surging

crowd, the police were unable to hold the line established on the stairs and were again forced to

retreat to the terrace level of the Capitol building. DUNFEE was one of the first to proceed up the

steps to the terrace level, once the police line on the steps was broken. Exhibit 304. Police officers

pushed DUNFEE back and told him to stop moving forward. DUNFEE, however, continued to

move forward with his arms raised above his head. Exhibit 304 and 1001.

       45.     At approximately 2:08 p.m., DUNFEE made it to the Rotunda Doors, where he

turned to the crowd and said, “the doors are locked!” Exhibits 308, 308a.

       46.     DUNFEE was again pushed back by police officers defending the Capitol building.

Exhibits 107, 107b, 304, and 1001.

       47.     At approximately 2:10 p.m., DUNFEE remained near the Rotunda Doors, where a

large crowd had gathered and a small number of federal law enforcement officers sought to defend

the Capitol building, as shown in Exhibits 107, 107b, 108, 108a, 108b, 203, 204, 205, 207, 208,

211, 216, 218, 220, 223, 224, 303, 304, 306, 308, and 309. There, at approximately 2:20 p.m.,

DUNFEE observed other rioters breaking the glass windows on the Rotunda Doors. DUNFEE and




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other rioters were then sprayed with pepper spray by the officers protecting the doors, as shown in

Exhibits 220, 306, 309, and 416. Exhibit 1001.

        48.    DUNFEE experienced the effects of the pepper spray; he was temporarily unable

to see. DUNFEE then retreated from the Rotunda Doors but remained close by. Exhibits 306 and

1001.

        49.    Shortly after DUNFEE retreated, other rioters continued to push forward, which

ultimately led to an altercation between police officers and rioters. DUNFEE was not involved in

this altercation. Exhibit 220. At approximately 2:25 p.m., the Rotunda Doors were opened from

the inside by a rioter who had entered the Capitol building at a different breach point. Exhibits 108

and 220. Rioters began to surge forward into the building. Exhibits 108 and 220. At approximately

2:28 p.m., police officers inside the Capitol building were able to resecure the Rotunda Doors. At

approximately 2:38 p.m., the Rotunda Doors were opened again from the inside by a group of

rioters who had entered the Capitol building at a different breach point, allowing more rioters to

enter. On this occasion, police officers were unable to resecure the Rotunda Doors. More rioters

amassed outside then entered the Capitol building through the doors. Exhibit 1001.

        50.    After the Rotunda Doors were breached, at approximately 2:45 p.m., DUNFEE

stood outside the Rotunda Doors where other rioters were entering and exiting the building, as

shown in Exhibits 207, 207a, 207b, 222, 224, 227, and 227a. Exhibit 1001.

        51.    DUNFEE entered the space between the decorative doors of the Rotunda doors and

the actual door to enter the building, but he did not proceed through that door to enter the building.

Exhibits 416 and 1001.

        52.    At approximately 2:47 p.m., after the joint session of Congress had been suspended,

an unidentified male rioter exiting the Capitol building addressed DUNFEE, stating, “We did it.




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We got our job done.” DUNFEE replied, “You get in?” The unidentified male rioter responded,

“We did it, we shut ‘em all down. We did our job.” In response, DUNFEE told the crowd:

“Hallelujah . . . Mission accomplished”, as shown in Exhibits 207, 207a, and 207b. Exhibit 1001.

In this comment, DUNFEE was celebrating that the rioters had brought the certification proceeding

to a halt by breaking through police lines and storming the Capitol.

       53.     DUNFEE then remained outside of the Rotunda Doors where, at approximately

2:52 p.m., he high-fived an unidentified male rioter exiting the Capitol building who was wearing

a gas mask. Exhibits 227, 227a, and 1001.

       54.     DUNFEE knew at the time he entered the restricted U.S. Capitol Grounds, he and

others did not have permission to enter the building or be on the restricted grounds. He knew that

he was not allowed to push through the barricades. Exhibit 1001.

       55.     DUNFEE pushed through the barricade lines, entered the restricted area, and

encouraged others to do the same. Exhibit 1001.

       56.     As shown in Exhibit 206, on or about May 30, 2021, DUNFEE told his

congregation in Ohio: “We show up January 6th at the Capitol building, right? To let it be known

that we are not going to stand back and let an election be stolen. That we are going to hold our

legislators accountable, and so on and so forth? And what did that get us? Huh? We are all deemed

what? Huh? Bunch of terrorists, right?” Exhibit 1001.

       57.     DUNFEE continued: “I can tell you, having been there, that. . . we were surrounded

by patriots. Many, many, many, many patriots. . . You are not stealing this election. You’re not

going to rob us, deprive us of a democracy, of a republic, without us being heard.” Exhibit 1001.

       58.     During the course of investigation, the FBI received a search warrant for

DUNFEE’s phone. During the examination of his phone, it was determined that the phone had




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been factory reset and a backup from before January 6, 2021 had been placed on the phone. Jan.

22, 2024 Tr. 59:24-60:7 (McCabe).


                                                  Count 1
       59.      Count One of the Indictment charges DUNFEE with civil disorder, in violation of

18 U.S.C. § 231(a)(3). In order to find the defendant guilty of that offense the Court must find

beyond a reasonable doubt that:

             i. The defendant knowingly committed an act or attempted to commit an act with the

                intended purpose of obstructing, impeding, or interfering with one or more law

                enforcement officers.

             ii. At the time of the defendant’s actual or attempted act, the law enforcement officer

                or officers were engaged in the lawful performance of their official duties incident

                to and during a civil disorder.

             iii. The civil disorder in any way or degree obstructed, delayed, or adversely affected

                either commerce or the movement of any article or commodity in commerce or the

                conduct or performance of any federally protected function.

       60.      The Court finds beyond a reasonable doubt that DUNEE knowingly committed an

act intending to obstruct, impede, or interfere with law enforcement officers when he pushed bike

rack barricades on two separate occasions against U.S. Capitol Police Officers who were there to

prevent rioters from entering restricted U.S. Capitol Grounds and Building. A person acts

“knowingly” if he realizes what he is doing and is aware of the nature of his conduct and does not

act through ignorance, mistake or accident. On two separate occasions DUNFEE pushed metal

bike rack barricades into officers who were trying to protect the Capitol. Exhibits 100, 100a, 101,

102, 102a, 104, 106, 106a, 109, 110, 203, 203h, 204, 204a, 205, 208, 211, 216, 219, 228, 300, 303,



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304, 411, 412, 413, 602 and 1001. As he pushed, he told officers, “you can fight us.” Exhibits 303,

303d, and 1001. His act physically obstructed the officers on the line. Also, law enforcement were

forced to respond to the threat DUNFEE created, thereby preventing them from dealing with other

ongoing and burgeoning threats from the large, hostile mob. Thus, DUNFEE’s intentional pushing

of the barricades interfered with law enforcement’s ability to protect the restricted area and those

who were authorized to be inside of it.

       61.     The Court finds beyond a reasonable doubt that at the time of DUNFEE’s acts, the

U.S. Capitol Police officers were engaged in the lawful performance of their official duties incident

to and during a civil disorder. A civil disorder is any public disturbance involving acts of violence

by groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c) results

in injury to another individual, or (d) results in damage to another individual’s property. 18 U.S.C.

§ 232(1). On January 6, 2021, U.S. Capitol Police were protecting the U.S. Capitol Grounds and

Building and the elected officials and staff therein from a public disturbance brought on by

thousands of rioters, many of whom turned violent and caused damage to the U.S. Capitol and

injuries to many individuals, including officers. Exhibit 1001.

       62.     The Court finds beyond a reasonable doubt that the civil disturbance adversely

affected commerce as it forced Safeway stores in Washington, D.C. to close early and lose revenue

that they would have otherwise realized. Exhibit 1001. The Court finds beyond a reasonable doubt

that the civil disturbance also obstructed, delayed, or adversely affected federally protected

functions. For example, it obstructed and adversely affected Secret Service’s protection of Vice

President Pence, requiring an emergency relocation of the Vice President’s motorcade and the

evacuation of the Vice President for several hours in response to the threat posed by DUNFEE and




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other rioters. Jan. 22, 2024 Tr. 17:22-19:15 (Hawa). It also obstructed and adversely affected the

U.S. Capitol Police’s protection of the Capitol, requiring Capitol Police to battle rioters for hours,

resulting in many officer injuries. Exhibit 1001.

       63.      Based on the foregoing, the Court finds DUNFEE committed the elements of civil

disorder in violation of 18 U.S.C. § 231(a)(3) and is therefore guilty of Count 1.

                                              Count 2

       64.      Count Two of the Indictment charges DUNFEE with obstruction of an official

proceeding and aiding and abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2. In order to find

the defendant guilty of obstruction of an official proceeding the Court must find beyond a

reasonable doubt that:

             i. The defendant attempted to or did obstruct or impede an official proceeding;

             ii. The defendant intended to obstruct or impede the official proceeding;

             iii. The defendant acted knowingly, with awareness that the natural and probable effect

                of his conduct would be to obstruct or impede the official proceeding; and

             iv. The defendant acted corruptly.

       65.      As relevant here, Congress’s Joint Session to certify the Electoral College vote on

January 6, 2021, was an “official proceeding” as that term is used in this count. United States v.

Fischer, 64 F.4th 329, 342 (D.C. Cir. 2023), cert. granted, No. 23-5572, 2023 WL 8605748 (U.S.

Dec. 13, 2023) (affirming district court’s holding “that congressional certification of the Electoral

College count is an ‘official proceeding’” for purposes of § 1512(c)(2)). See also 18 U.S.C. §

1515(a)(1)(B) (defining “official proceeding” to include “a proceeding before the Congress”).

       66.      The Court finds beyond a reasonable doubt that DUNFEE obstructed and impeded

an official proceeding by joining the riot, playing an instrumental role in breaching the barricades




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on the East Front of the Capitol, entering and remaining in the restricted U.S. Capitol Grounds,

and helping and encouraging other rioters to do the same, thereby delaying Congress’s ongoing

certification of the Electoral College vote, an official proceeding. The evidence establishes that

because of the riot that DUNFEE was part of the Secret Service evacuated the Vice President, who

was presiding over the certification, to a secure location. Jan. 22, 2024 Tr. 22:15-22 (Hawa);

Exhibit 1001. Members of Congress were evacuated from the chambers as well, and the

proceeding did not resume until later in the evening. Exhibits 008 and 1001.

       67.     The Court finds beyond a reasonable doubt that DUNFEE intended to obstruct the

official proceeding. DUNFEE knew that Congress was meeting on January 6, 2021 to certify the

Electoral College vote. Prior to January 6, 2021, DUNFEE actively encouraged members of his

congregation to come to Washington D.C. because in his words “it’s not over” referring to the

election. Exhibits 209 and 1001. On January 6, 2021, DUNFEE intended to stop Congress from

certifying the election in President Biden’s favor, and he took action to accomplish that goal. He

spoke about the ongoing certification (Exhibits 203, 203a, and 1001), and actively forecast his plan

to enter the building should Donald Trump not be certified as the next President both to the crowd

and officers protecting the grounds and building telling them, “If they let us down, we are going

to our house!” and “We want Donald Trump and if Donald Trump is not coming, we are taking

our house! . . . Give us Trump or give us our house!” Exhibits 203, 203c, 203f and 1001. DUNFEE

also encouraged members of the crowd to join him in the event the Electoral College was not

certified for Donald Trump. See Exhibits 202, 202a, and 1001 (“This election has been stolen right

out from underneath of our noses and it is time for the American people to rise up. Rise up! Today

is the day in which it is that these elected officials realize that we are no longer playing games.”),

Exhibits 301, 301a, and 1001 (“What’s the purpose of these gates? It’s to keep you away from our




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house.” . . “We intend to take it.”). DUNFEE held himself out as someone the crowd should listen

to by standing on a raised platform and using a megaphone. See, e.g., Exhibits 202, 202a, 203,

203a, 203b, 203c, 301, 301a, 301b, 303, 303a, 303b, 303c, 303d. He requested that individuals

listen to him when he spoke. Exhibits 203, 203a (“Listen up! Listen up!”), 307 and 307a

(DUNFEE, “Okay now listen, give me one minute. Please hear me. Listen to me, one minute.

Listen! Listen!” Unidentified Individual, “Let him talk. Let him talk.”) He intended to speak for

the crowd when addressing police officers. Exhibits 303, 303a, 303b (“We will push if we gotta

push” (emphasis added)), 303c (“For safety’s sake, get us to the steps.” (emphasis added)), and

303d (“Alright, we are going to the steps. We are going to the steps. . . . You can fight us.”

(emphasis added)). Members of the crowd looked to DUNFEE to negotiate with police, (Exhibits

303, 303a (Unidentified Individual speaking to DUNFEE, “And you do what you got to do to

negotiate.”)), and to organize the group to obstruct the certification, (Exhibits 301, 301a

(Unidentified Individual to DUNFEE, “Let’s go in.” DUNFEE, “We’re going to.”)). DUNFEE

used this authority to lead the crowd. On two separate occasions, DUNFEE aggressively pushed

metal bike rack barricades against a police line to gain access to the restricted area and building.

Exhibits 100, 100a, 101, 102, 102a, 104, 104a, 106, 106a, 110, 203, 203h, 204, 204a, 205, 208,

211, 216, 219, 228, 300, 303, 304, 411, 412, 413, 602, and 1001. Members of the crowd worked

with DUNFEE to push the barricades and breach the restricted perimeter. Exhibits 411, 412, and

415. DUNFEE then attempted to enter the U.S. Capitol Building, which he was unable to do

because the doors were locked, and police pushed him back. Exhibits 308 and 308a. DUNFEE was

later pepper sprayed by officers protecting the Rotunda door, which forced him to retreat. Exhibits

220, 306, 309, 416, and 1001. DUNFEE’s statements and encouragement to the crowd, comments

to police officers, as well as his persistent advancement and violence toward police officers in




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order to gain entry into the Capitol Building where he knew the certification was taking place

demonstrates his intent. Despite being stopped from entering the Capitol due to police action,

DUNFEE indicated congruence with other rioters’ efforts to stop the certification process from

going forward by high-fiving them, (Exhibits 227, 227a, and 1001), and proclaiming, “Mission

accomplished,” when one individual told him that “we shut ‘em all down,” referring to the

certification of the election (Exhibits 207, 207a, 207b).

       68.     The Court finds beyond a reasonable doubt that DUNFEE acted knowingly, that is

with a realization and awareness of the nature of his conduct and not through ignorance, mistake,

or accident. DUNFEE knew that the certification was taking place on January 6, 2021, and he

intended to obstruct it. His actions were not by mistake but by design.

       69.     The Court finds beyond a reasonable doubt that DUNFEE acted corruptly. To act

“corruptly,” the defendant must use independently unlawful means or act with an unlawful

purpose, or both. United States v. Robertson, 86 F.4th 355 (D.C. Cir. 2023). DUNFEE pushing

metal bike rack barricades against the police line was an independently unlawful means—

involving an act of civil disorder in violation of 18 U.S.C. § 231(a)(3)—to further his unlawful

purpose of interrupting the certification proceeding. DUNFEE also acted with the unlawful

purpose of keeping his preferred candidate in power. He declared his corrupt intent when he told

a member of the crowd that he was there to “stop the steal” and when he engaged in chants like,

“fight for Trump”. Exhibits 200, 200a, 203, 203e, and 1001. DUNFEE knew that becoming part

of a riot and engaging in violence towards police officers was wrongful, but he did it anyway.

       70.     DUNFEE also acted with consciousness of wrongdoing. He knew that it was wrong

to forcibly breach the restricted perimeter by pushing through barricades. He knew that the mob

was intent on stopping the certification not through peaceful protest and persuasion, but through




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violence and intimidation, and he both led and joined in that effort.

        71.      DUNFEE also acted with the intent to procure an unlawful benefit for himself or

another individual. Specifically, he engaged in the illegal conduct described in these findings in

order to ensure that his preferred candidate, Donald Trump, remained in office, and to confer the

benefit of four more years holding the office of the presidency on then-President Trump.

        72.      In addition, DUNFEE’s obstructive acts have a nexus to documents.                 The

certification of the electoral college vote, as set out in the Electoral Count Act in force at the time,

involves the counting of physical electoral ballots. The riot, in which DUNFEE participated and

in which others, aided by DUNFEE, participated, interfered with the counting of the ballots during

the Joint Session and placed the integrity of the ballots before the Joint Session in danger.

        73.      Based on the foregoing, the Court finds that DUNFEE committed the elements of

obstructing an official proceeding in in violation of 18 U.S.C. § 1512(c)(2) and is therefore guilty

of Count 2.

        74.      Because the Court finds DUNFEE guilty of the offense as the principal actor, it

need not consider whether he aided or abetted another in committing the offense.

                                                  Count 3

        75.      Count Three of the Indictment charges DUNFEE with entering or remaining in a

restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(1). In order to find the defendant

guilty of that offense the Court must find beyond a reasonable doubt that:

              i. The defendant entered or remained in a restricted building or grounds without

                 lawful authority to do so; and

              ii. The defendant did so knowingly.

        76.      As relevant here, the term “restricted building or grounds” means any posted,




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cordoned off, or otherwise restricted area of a building or grounds where a person protected by the

Secret Service is or will be temporarily visiting. The Vice President and the immediate family of

the Vice President are persons protected by the Secret Service.

       77.     The Court finds beyond a reasonable doubt that DUNFEE entered and remained in

restricted grounds by entering into the restricted perimeter around the Capitol, ascending the East

Central Stairs and being on the terrace of the Capitol Building, without lawful authority to do so.

On January 6, 2021, the Capitol Grounds and Building were a restricted area because Vice

President and members of his family were present at the U.S. Capitol for the certification of the

2020 Presidential Election. Exhibit 1001; Jan. 22, 2024 Tr. 11:22-12:8, 14:19-14:23 (Hawa). There

was a restricted perimeter in place around the U.S. Capitol Grounds that was closed to members

of the public. Exhibits 006, 1001. On the East Front, this restricted perimeter was marked with

bike rack barricades. Exhibits 300, 301, 405, 406, 408, 409, 410, and 1001. On January 6, 2021,

DUNFEE entered the restricted area when he pushed through the barricades. Exhibit 1001.

       78.     The Court finds beyond a reasonable doubt that DUNFEE entered and remained in

the restricted grounds knowingly. DUNFEE was aware of the nature of his conduct and did not act

through ignorance, mistake, or accident. In order to enter the restricted perimeter, DUNFEE had

to push through officers and barriers. Exhibit 1001. He heard officers tell him and others that they

could not enter the restricted perimeter and, once he passed the restricted perimeter, he heard

officers order him and others to leave. Exhibits 303, 303d, 304, and 1001. Video evidence shows

that DUNFEE sidestepped an officer, who tried to physically restrain him after he had broken

through the perimeter. Exhibits 102, 102a, and 1001. Any of these signs told DUNFEE that he was

not permitted to enter the Capitol Grounds or to subsequently remain there.

       79.     United States v. Griffin, 22-3042 (D.C. Cir.), which concerns the reach of




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“knowingly” in 18 U.S.C. § 1752, is currently pending before the D.C. Circuit. While the D.C.

Circuit has thus not yet settled whether the government also must prove that the defendant was

aware of a Secret Service protectee’s current or anticipated presence in the restricted area, in this

case, the result remains the same, because DUNFEE knew that Vice President Pence was present

at the U.S. Capitol on January 6.

       80.     Based on the foregoing, the Court finds DUNFEE committed the elements of

entering and remaining in a restricted building or grounds in violation of 18 U.S.C. § 1752(a)(1)

and is therefore guilty of Count 3.



                                                      Respectfully submitted,

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